      Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 1 of 13 PageID #:1




MICHAEL L. FRADIN
mike@fradinlaw.com
LAW OFFICE OF MICHAEL L. FRADIN
8401 Crawford Ave. Ste. 104
Skokie, IL 60076
Telephone: 847/986-5889
Facsimile: 847/673-1228
Attorneys for Plaintiff

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JUNE CALHOUN and                              Case No. ----------
JOSE DE FREITAS
                Plaintiffs,                   COMPLAINT FOR VIOLATIONS OF:
                                                1. FRCP 23 Class Action: Americans with
      v.                                           Disabilities Act

UNITED AIRLINES, INC.                         DEMAND FOR JURY TRIAL
             Defendant,
                                                        Judge -------
                                                        Magistrate Judge ------




I.     Preliminary Statement

       1.      Plaintiffs, June Calhoun and Jose De Freitas, by and through their undersigned

attorney, Michael L. Fradin, bring this action on behalf of themselves and all others similarly situated

against Defendant, United Airlines, Inc., (United Airlines) and alleges as follows:

II.    Introduction

       2.      This is an action under Title I of the Americans with Disabilities Act of 1990 and

Title I of the Civil Rights Act of 1991 (“ADA”) to correct unlawful employment practices on the

basis of disability and to provide appropriate relief to June Calhoun and other aggrieved individuals

who were adversely affected by the unlawful employment practices. As alleged with greater


                                          -1-
                   PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
       Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 2 of 13 PageID #:2




particularity below, Defendant engaged in a pattern or practice of violating the ADA by refusing to

accommodate employees with disabilities, terminating employees with disabilities, and failing to

rehire employees. Defendant’s actions followed from a 100% return-to-work policy that requires

employees to return to work without restrictions.

III.    Jurisdiction and Venue

        3.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331,

1337, and 1343. This action is authorized and instituted pursuant to Section 107(a)

of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Section 706(f)(1)

and (3) of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5(f)(1) and (3) & § 2000e-6.

        4.     Venue is proper in this judicial district because the facts and events giving rise to the

named Plaintiffs’ claims occurred in this judicial district. 28 U.S.C. §1391.

IV.     The Parties

        A. Plaintiffs

        5.     Plaintiff June Calhoun is a resident of Illinois and a person with a disability (epilepsy,

osteoarthritis, meniscus tear in right knee, sleep apnea, and shift work disorder) as defined by the

Americans with Disabilities Act;

        6.     Plaintiff Jose De Freitas is a resident of Tennessee and a person with a disability

(degenerative cervical disc disease, intractable axial neck pain) as defined by the Americans with

Disabilities Act;

        B. Defendant

        7.     At all relevant times, Defendant United Airlines was an Illinois Corporation and has

continuously been doing business in the State of Illinois and has continuously had at least 15

employees.




                                           -2-
                    PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
      Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 3 of 13 PageID #:3




       8.      Defendant United Airlines has continuously been an employer engaged in an industry

affecting commerce under Section 101(5) of the ADA, 42 U.S.C.§ 12111(5), and Section 101(7) of

the ADA, 42 U.S.C. § 12111(7), which incorporates by reference Sections 701(g) and (h) of Title

VII, 42 U.S.C. §§ 2000e(g)and (h).

       9.      At all relevant times, Defendant has been a covered entity under Section 101(2) of the

ADA, 42 U.S.C. § 12111(2).

V. General Allegations

       10.     Plaintiffs and a class of employees and former employees have disabilities within the

meaning of the ADA, 42 U.S.C. § 12102(2), and are qualified individuals with disabilities under the

ADA, 42 U.S.C. 12111(8), and have sought reasonable accommodations, including reassignment,

from Defendant related to their disabilities.

       11.     All conditions precedent to the institution of this lawsuit, including conditions

precedent to proceeding as a class, have been met.

       12.     On or about November 21, 2014, Plaintiff Jose De Freitas filed a charge of

discrimination that included class allegations and that is attached at exhibit 1.

       13.     On or about August 18, 2015 June Calhoun filed an amended charge of

discrimination that is attached as exhibit 2.

       14.     On or about November 19, 2015, Plaintiff Jose De Freitas filed a second charge of

discrimination that is attached as exhibit 3.

       15.     The Equal Employment Opportunity Commission (EEOC) has issued right to sue

letters which are attached as exhibits 4-6 to this Complaint.

       16.      An October 26, 2018 report from the District Director of the EEOC included

findings of class discrimination by Defendant and is attached herein as Exhibit 7.




                                          -3-
                   PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
      Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 4 of 13 PageID #:4




         17.      Defendants have engaged in unlawful employment practices in violation of Sections

102(a), 102(b)(3), 102(b)(5)(A), 102(b)(5)(B), 102(b)(6) and 503 of Title I of the ADA, 42 U.S.C.

§§ 12112(a), (b)(5)(A), (b)(5)(B), and 12203.

         18.      At all relevant times, Defendant has had a 100% return-to-work policy that requires

employees to return to work without restrictions.

         19.      The Plaintiffs and other aggrieved individuals have disabilities within the meaning

of the ADA, 42 U.S.C. § 12102(2),

         20.      The Plaintiffs and other aggrieved individuals are qualified individuals with

disabilities under the ADA, 42 U.S.C. 12111(8), in that they could perform the duties of their jobs

with or without reasonable accommodation, including, where necessary, reassignment.

         21.      The Plaintiffs and other aggrieved individuals are qualified individuals with

disabilities under the ADA, 42 U.S.C. 12111(8).

         22.      Defendant did not provide reasonable accommodations to the Plaintiffs and other

aggrieved individuals.

         23.      Defendant required Plaintiffs and other aggrieved individuals to apply for and compete

for vacant positions instead of considering reassignment as a reasonable accommodation.

         24.      Defendant terminated and/or forced retirement on Plaintiffs and other aggrieved

individuals or placed them on unpaid leave.

         25.      Defendant also refused to rehire Plaintiffs as well as other aggrieved individuals

because of their disabilities and/or because Defendant regarded them as disabled.

         26.      Defendant refused to allow Plaintiffs as well as other aggrieved individuals to transfer.

   VI.         ADA Class Definitions and Allegations




                                             -4-
                      PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
      Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 5 of 13 PageID #:5




       27.     Plaintiffs bring this action on behalf of themselves and all members of the ADA class,

defined as follows:

       Current and former employees of United Airlines who were employed between January 25,
       2014 through the date that class certification is granted and who had/has a physical or
       mental impairment and who was/is unable to continue working in his/her regular position
       and who has applied for and was/is not selected for a vacant available position as part of the
       reassignment reasonable accommodation process.

       28.     Plaintiffs and the members of the ADA Class are similarly situated in that they were

all subject to the same discriminatory practices.

       29.     Plaintiffs seek to recover money damages and injunctive relief for themselves and the

ADA Class.

   A. Rule 23 Allegations

                           1. Numerosity (Rule 23(a)(1)).

                              The potential quantity of members of the proposed ADA Class as

                              defined is so numerous that joinder of all members would be unfeasible

                              and impractical. Plaintiffs are informed and believe that the total

                              number of current and formerly employed members of the ADA Class

                              number is in the hundreds.

                           2. Existence of Common Questions of Law and Fact (Rule 23(a)(2)).

                              There are common questions of law and fact as to the members of the

                              ADA Class which predominate over questions affecting only

                              individual members such as whether or not Defendant maintains an

                              employment policy that fails to comply with the Americans with

                              Disabilities Act.

                           3. Typicality (Rule 23(a)(3)).




                                             -5-
                      PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 6 of 13 PageID #:6




                    The claims of the Plaintiffs are typical of the claims of all members of

                    the ADA Class they seek to represent because all members of the ADA

                    Class sustained injuries and damages arising out of Defendant’s policy

                    that violates the ADA.

                 4. Adequacy (Rule 23(a)(4)).

                    Plaintiffs are adequate representatives of the proposed ADA Class they

                    seek to represent because they will fairly protect the interests of the

                    members of the ADA Class, they have no interests antagonistic to the

                    members of the ADA Class, and they will vigorously pursue this suit

                    via attorneys who are competent, skilled and experienced in litigating

                    matters of this type.

                 5. Injunctive and Declaratory Relief (Rule 23(b)(2)).

                    Injunctive Relief is appropriate pursuant to Rule 23(b)(2) because

                    Defendant has acted or refused to act on grounds generally applicable

                    to the members of the ADA Class, so that final injunctive relief as

                    requested herein is appropriate respecting the ADA Class as a whole.

                 6. Predominance and Superiority of Class Action (Rule 23(b)(3)).

                    The nature of this action and the nature of the laws available to

                    members of the ADA Class make the use of the class action format

                    particularly efficient and the appropriate procedure to afford relief to

                    them for the wrongs alleged herein, for the following reasons:

                        a. By establishing a technique whereby the claims of many

                           individuals can be resolved at the same time, the class suit both




                                  -6-
           PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 7 of 13 PageID #:7




                          eliminates the possibility of repetitious litigation and provides

                          small claimants with a method of obtaining redress for claims

                          which would otherwise be too small to warrant individual

                          litigation;

                       b. This case involves a large number of individual class members.

                          If each individual member was required to file an individual

                          lawsuit,      the   Defendants   would   necessarily   gain   an

                          unconscionable advantage because it would be able to exploit

                          and overwhelm the limited resources of each individual class

                          member with its vastly superior financial and legal resources;

                       c. Requiring each individual member to pursue an individual

                          remedy would also discourage the assertion of lawful claims by

                          class members, who would be disinclined to pursue action

                          against Defendant because of an appreciable and justifiable fear

                          of retaliation and permanent damage to their lives, careers and

                          well-being;

                       d. Proof of a common business practice of ADA violations will

                          provide the common proof to establish liability against

                          Defendant;

                       e. Absent class treatment, the prosecution of separate actions by

                          the individual members of the ADA Class, even if possible,

                          would likely create:




                                  -7-
           PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
     Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 8 of 13 PageID #:8




                                        i. a substantial risk of each individual plaintiff presenting

                                            in separate, duplicative proceedings the same or

                                            essentially similar arguments and evidence, including

                                            expert testimony;

                                        ii. a multiplicity of trials conducted at enormous expense

                                            to both the judicial system and the litigants;

                                       iii. inconsistent or varying verdicts or adjudications; and

                                       iv. potentially incompatible standards of conduct for

                                            Defendant.

                                f. The claims of the individual members of the ADA Class are not

                                    sufficiently large to warrant vigorous individual prosecution

                                    considering all of the concomitant costs and expenses attendant

                                    thereto;

                                g. Courts seeking to preserve efficiency and other benefits of class

                                    actions routinely fashion methods to manage any individual

                                    questions; and

                                h. Judicial precedent urges trial courts, which have an obligation

                                    to consider the use of innovative procedural tools to certify a

                                    manageable class, to be procedurally innovative in managing

                                    class actions.

      30.    Finally, adjudicating this action on a class basis is appropriate because liability turns

on Defendant’s own uniform and systematic policy which deprives its employees of ADA rights.

Class-wide liability can be determined through manageable devices of common proof such as




                                        -8-
                 PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
          Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 9 of 13 PageID #:9




statistical random sampling, survey evidence based on scientific principles, representative testimony,

documentary evidence and Defendant’s common policies and practices.

           31.   Plaintiffs do not contemplate class notice if the ADA Class is certified under Rule

23(b)(2), which does not require notice, and notice to the putative Class may be accomplished through

publication, or other forms of distribution, if necessary, if the Class is certified under Rule 23(b)(3),

or if the Court otherwise determines class notice is required. Plaintiffs will, if notice is so required,

confer with Defendant and seek to present the Court with a stipulation and proposed order on the

details.

                                      FIRST CLAIM FOR RELIEF
                        Pattern or Practice of Failing to Accommodate Employees
                                      (42 U.S.C. §§ 12112(a) and (b)(5)(A))

           32.   The allegations contained in the foregoing paragraphs are hereby incorporated by

reference.

           33.   Defendant maintained a 100% return to work policy that required employees to return

to work without restrictions.

           34.   The Plaintiffs and the other aggrieved individuals for whom the Plaintiffs seek relief

are disabled as defined in the ADA.

           35.   The Plaintiffs and the other aggrieved individuals for whom the Plaintiffs seek relief

were able, with or without reasonable accommodation, to perform the essential functions of their

positions or could have performed the essential functions of a position obtained through reassignment.

           36.   Defendant failed and refused to provide any accommodation, including but not limited

to reassignment to the Plaintiffs and the other aggrieved individuals for whom the Plaintiffs seek

relief.




                                            -9-
                     PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
    Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 10 of 13 PageID #:10




       37.     Defendant failed and refused to engage in good faith discussions with the Plaintiffs

and the other aggrieved individuals for whom the Plaintiffs seek relief to determine appropriate

accommodation.

       38.     Defendant failed to provide the Plaintiffs and the other aggrieved individuals for

whom the Plaintiffs seek relief any reasonable accommodations, as required under Section

102(b)(5)(A) of the ADA. 42 U.S.C. § 12112(b)(5)(A).

       39.     Defendant’s failure to provide the Plaintiffs and the other aggrieved individuals for

whom the Plaintiffs seek relief with any reasonable accommodation was intentional.

       40.     Defendant’s failure to provide the Plaintiffs and the other aggrieved individuals for

whom the Plaintiffs seek relief any reasonable accommodation was malicious and/or done with

reckless indifference to their federally protected rights. The effect of the practices complained of in

the foregoing paragraphs has been to deprive the Plaintiffs and the other aggrieved individuals for

whom the Plaintiffs seek relief of equal employment opportunities and otherwise adversely affect her

or his status as an employee, because of her or his disability.

                              SECOND CLAIM FOR RELIEF
                         Pattern or Practice of Disparate Treatment
                          (42 U.S.C. §§ 12112(a) and (b)(5)(B))

       37.     The allegations contained in the foregoing paragraphs are hereby incorporated by

reference.

       38.     Defendant’s policies and/or practices precluding employees from transferring while

on leave discriminates on the basis of disability.

       39.     Defendant’s practice and/or policy of not allowing promotions for employees with

medical restrictions discriminates on the basis of disability.




                                         - 10 -
                   PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
    Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 11 of 13 PageID #:11




       40.       Defendant intentionally terminated and/or forced retirement on Plaintiffs and the

other aggrieved individuals for whom the Plaintiffs seek relief because of their disabilities, and/or

because they regarded them as disabled, and/or because of the need to provide reasonable

accommodation for their disability, in violation of Sections 102(a) and 102(b)(5)(B) of the ADA. 42

U.S.C. §§ 12112(a) and (b)(5)(B).

       41.       Defendant intentionally refused to rehire Plaintiffs and the other aggrieved

individuals for whom the Plaintiffs seek relief because of their disabilities, and/or because they

regarded them as disabled, and/or because of the need to provide reasonable accommodation for

their disability, in violation of Sections 102(a) and 102(b)(5)(B) of the ADA. 42 U.S.C. §§ 12112(a)

and (b)(5)(B).

       42.       Defendant intentionally refused to allow Plaintiffs and the other aggrieved

individuals for whom the Plaintiffs seek relief to transfer because of their disabilities, and/or

because they regarded them as disabled, and/or because of the need to provide reasonable

accommodation for their disability, in violation of Sections 102(a) and 102(b)(5)(B) of the ADA. 42

U.S.C. §§ 12112(a) and (b)(5)(B).

       43.       Defendant’s discriminatory treatment of the Plaintiffs and the other aggrieved

individuals for whom the Plaintiffs seek relief was done with malice or reckless indifference to their

federally protected rights.

       44.       The effect of the practices complained of in the foregoing paragraphs has been to

deprive the Plaintiffs and the other aggrieved individuals for whom the Plaintiffs seek relief, of

equal employment opportunities and otherwise adversely affect her or his status as an employee,

because of her or his disability.




                                           - 11 -
                     PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
     Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 12 of 13 PageID #:12




          45.   The unlawful employment practices complained of in the foregoing paragraphs were

intentional toward the Plaintiffs and the other aggrieved individuals for whom the Plaintiffs seek

relief.

          46.   The unlawful employment practices complained of in the foregoing paragraphs were

done with malice or with reckless indifference to the federally protected rights of the Plaintiffs and

the other aggrieved individuals for whom the Plaintiffs seek relief.

                                      PRAYER FOR RELIEF

Wherefore, the Plaintiffs respectfully request that this Court:

A. Grant a permanent injunction enjoining Defendant and its officers, agents, servants, employees,

attorneys, and all persons in active concert or participation with them, from discriminating against

employees or applicants because of disability.

B. Grant a permanent injunction enjoining Defendant, their officers, agents, servants, employees,

attorneys, and all persons in active concert or participation with them, from retaliating against

employees or applicants because they request accommodations.

C. Order Defendant to institute and carry out policies, practices, and programs which provide equal

employment opportunities for qualified individuals with disabilities, and which eradicate the effects

of their past and present unlawful employment practices.

D. Order Defendants to make whole Plaintiffs and the other aggrieved individuals for whom the

Plaintiffs seek relief by providing appropriate back pay and benefits with prejudgment interest,

compensatory damages in amounts to be proved at trial, and other affirmative and equitable relief

necessary to eradicate the effects of its unlawful employment practices, including reinstatement or

front pay in lieu thereof.




                                          - 12 -
                    PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
     Case: 1:19-cv-03397 Document #: 1 Filed: 05/20/19 Page 13 of 13 PageID #:13




E. Order Defendants to make whole Plaintiffs and the other aggrieved individuals for whom the

Plaintiffs seek relief by providing compensation for past and future nonpecuniary losses resulting

from the unlawful practices complained of in the paragraphs above, including emotional pain,

suffering, inconvenience, loss of enjoyment of life, and humiliation, in amounts to be determined at

trial.

F. Order Defendants to pay Plaintiffs and the other aggrieved individuals for whom the    Plaintiffs

seek relief punitive damages for its malicious or reckless conduct described in the paragraphs

above, in amounts to be determined at trial.

G. Award the Plaintiffs their attorneys’ fees and costs in this action.

H. Grant such further relief as the Court deems necessary and proper.



                               JURY TRIAL DEMAND

DATED: May 19, 2019                                           Respectfully submitted,

                                                              s/ Michael L. Fradin
                                                              Michael L. Fradin

                                                              MICHAEL L. FRADIN
                                                              mike@fradinlaw.com
                                                              LAW OFFICE OF MICHAEL L. FRADIN
                                                              8401 Crawford Ave. Ste. 104
                                                              Skokie, IL 60076
                                                              Telephone: 847/986-5889
                                                              Facsimile: 847/673-1228




                                         - 13 -
                   PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
